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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

JOHNNIE JAMES WILSON JR.,

                       Plaintiff,

v.                                                                    No. 1:21-cv-00941-KK

INTERCONTINENTAL HOTELS GROUP,
d.b.a. Holiday Inn Express,

                       Defendant.

                   MEMORANDUM OPINION AND ORDER
         TRANSFERRING VENUE TO CENTRAL DISTRICT OF CALIFORNIA
                             AND NOTICE

       THIS MATTER comes before the Court on pro se Plaintiff's Complaint for Negligence

Causing Bodily Harm and Damages and Negligent Infliction of Emotional Distress, Doc. 1, filed

September 24, 2021 ("Complaint").

       Plaintiff, who resides in Albuquerque, New Mexico, alleges he suffered injuries after he

slipped in a bathtub in Defendant's hotel located in Banning, California. Plaintiff asserts the Court

has diversity jurisdiction over his negligence claims because Defendant has its main offices in

Atlanta, Georgia. The Complaint states "Venue is also proper" but does not state why venue is

proper in the District of New Mexico. Complaint at 1.

       The statute governing venue in general states:

       Venue in general.--A civil action may be brought in—

       (1) a judicial district in which any defendant resides, if all defendants are residents
       of the State in which the district is located;

       (2) a judicial district in which a substantial part of the events or omissions giving
       rise to the claim occurred, or a substantial part of property that is the subject of the
       action is situated; or
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         (3) if there is no district in which an action may otherwise be brought as provided
         in this section, any judicial district in which any defendant is subject to the court's
         personal jurisdiction with respect to such action.

28 U.S.C. §1391(b). “The district court of a district in which is filed a case laying venue in the

wrong division or district shall dismiss, or if it be in the interest of justice, transfer such case to

any district or division in which it could have been brought.” 28 U.S.C. § 1406(a).

         The Court concludes that the District of New Mexico is not a proper venue for this case

because there are no allegations that a defendant resides in the District of New Mexico or that any

of the events or omissions giving rise to the claim occurred in the District of New Mexico. The

Court transfers this case to the Central District of California because the events or omissions giving

rise to this case occurred in Banning, California, which is in the Central District of California.

Notice

         Plaintiff filed a complaint initiating a case in this Court earlier this year. See Doc. 1, filed

June 1, 2021, in Wilson v. Intercontinental Hotels Group, No. 1:21-cv-00502-CG ("Wilson I").

The Complaint in Wilson I is essentially identical to the Complaint in this case. Chief United

States Magistrate Judge Carmen E. Garza remanded Wilson I to the Southern District of California1

after concluding the District of New Mexico was not a proper venue for this case. See Doc. 4,

filed June 3, 2021 in Wilson I.




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 Banning, California, where the events giving rise to this case occurred, is in the Central District
of California. See Doc. 7, filed June 3, 2021, in Wilson v. Intercontinental Hotels Group, No.
3:21-cv-01059-CAB-MSB (S.D. Cal.) (transferring case to the Central District of California). The
Court for the Central District of California dismissed Plaintiff's case because "Plaintiff failed to
correct deficiencies in the request to proceed In Forma Pauperis." Doc. 13, filed August 5, 2021,
in Wilson v. Intercontinental Hotels Group, No. 5:21-cv-00962-SB-KS (C.D. Cal. (Eastern
Division – Riverside)).
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        Plaintiff continued to file documents in Wilson I after Wilson I had been transferred to the

Southern District of California. See Doc's 5 and 6, filed June 10, 2021 and July 19, 2021, in

Wilson I. Judge Garza notified Plaintiff that:

        this Court, having transferred the case to the Southern District of California, cannot
        grant Plaintiff any relief. The Court also notifies Plaintiff that this Court will not
        consider, and will not transfer to the Southern District of California, any additional
        documents that Plaintiff files in this case. Any documents relevant to this case that
        Plaintiff wishes to file must be filed in the Southern District of California.

Doc. 7 at 2, filed July 26, 2021, in Wilson I.

        The Court again notifies Plaintiff that this Court, having transferred the case to the Central

District of California, cannot grant Plaintiff any relief. The Court also notifies Plaintiff that this

Court will not consider, and will not transfer to the Central District of California, any additional

documents that Plaintiff files in this case. Any documents relevant to this case that Plaintiff wishes

to file must be filed in the Central District of California. Finally, the Court notifies Plaintiff that

if he continues to file documents in this case in the District of New Mexico, or if Plaintiff initiates

a new case in the District of New Mexico based on the same facts as this case without showing

that venue is proper in the District of New Mexico, the Court may impose filing restrictions on

Plaintiff.

        IT IS ORDERED that this case is TRANSFERRED to the Central District of California.



                                                 _____________________________________
                                                 K IRTAN KHALSA
                                                 UNITED STATES MAGISTRATE JUDGE




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